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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

    SPIRE GLOBAL, INC.,

                                         Plaintiff,
    v.
                                                               C.A. No. 25-cv-00168
    KPLER HOLDING SA,

                                         Defendant.


         NOTICE OF PENDING MATTERS REQUIRING JUDICIAL ATTENTION
                     FILED PURSUANT TO LOCAL RULE 81.2

         Pursuant to Local Rule 81.2, Plaintiff Spire Global, Inc. respectfully notifies the Court that

the following emergency motion was pending in the Court of Chancery of the State of Delaware

as of the removal of this action:

            •   Plaintiff Spire Global, Inc.’s Motion for Expedited Proceedings, filed on February

                10, 2025 and attached hereto as Exhibit A. 1




1
 Plaintiff’s Motion was not included with Defendant’s February 11, 2025 Notice of Removal.
See ECF No. 2.
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 Dated: February 12, 2025

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